
*BY THE COURT.
It appears that the purchase of this [372 property was made by William Tear, for John, and paid for with John’s money, but because the deed was drawn by mistake to William, the purchaser, to avoid the trouble of drawing a new deed, accepted it, and William afterwards conveyed to John, without *380pay. William being in debt, it is claimed the conveyance is fraudulent and void. The parties are ignorant foreigners. We see no evidence of fraud on the part of the complainant, or anything to warrant the defendant’s levy. The proceeding by the defendant is calculated to cloud and embarrass the title of the complainant, and may be restrained upon the authority of several decisions, as well as enjoined; 3 O. 216; 5 O. 267. We find the land the property of the complainant, and perpetually enjoin the defendant from proceeding against it upon his levy.
